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 5   ENTTech Media Group LLC
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 8                              UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10
      ENTTECH MEDIA GROUP LLC               Case No. 2:20-cv-06298-RGK (Ex)
11
                   Plaintiff,               PLAINTIFF ENTTECH MEDIA
12                                          GROUP LLC’S OBJECTION AND
              v.                            REQUEST TO STRIKE MOTION
13                                          TO DISMISS [26] AND JOINDER
      OKULARITY, INC., et al.               IN MOTION TO DISMISS [28];
14                                          AND
                   Defendants.
15                                          DECLARATION OF ROBERT
                                            TAULER
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                                            [Civ. L. R. 7-3]
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             ENTTECH’S OBJECTION AND REQUEST TO STRIKE MOTION TO DISMISS
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 1          OBJECTION AND REQUEST TO STRIKE MOTION TO DISMISS
 2         Plaintiff ENTTech Media Group LLC (“ENTTech”) respectfully objects to the
 3 improper filing of the Motion to Dismiss (Dkt. 26) by Defendants Okularity, Inc. and Jon
 4 Nicolini on August 24, 2020 and the Joinder in Motion to Dismiss (Dkt. 28) by
 5 Defendants Backgrid USA, Inc., Splash News and Picture Agency, LLC and Xposure
 6 Photo Agency, Inc. The Motion and the accompanying Joinder should be stricken,
 7 because counsel for the moving parties did not timely confer with ENTTech’s counsel
 8 concerning their proposed motion(s), as required by Civ. L.R. 7-3.
 9         The Joinder filing contains no certification that any conference occurred. The
10 Motion filing asserts that “[i]n accordance with L.R. 7-3, this motion is made following
11 conferences of counsel that took place telephonically on August 6, 2020, and again on
12 August 18, 2020.” But the telephone conference of August 18, 2020 was untimely, and
13 therefore deficient, because it occurred less than seven days before the Motion filing on
14 August 24, 2020 – and because Rule 7-3 specifies that “[t]he conference shall take place
15 at least seven (7) days prior to the filing of the motion.” The earlier telephone call of
16 August 6, 2020 also does not excuse the untimeliness of the later one, because the first

17 conference concerned a different potential motion – namely, a potential motion to
18 dismiss the original Complaint of July 15, 2020 (see Dkt. 1). Necessarily, counsel could
19 not have discussed (and, they did not discuss) any potential motion to dismiss the First
20 Amended Complaint of August 10, 2020 during the first phone call back on August 6,
21 2020 – four days before the amended pleading was even filed. See Declaration of Robert
22 Tauler, infra ¶ 2.
23         Moreover, the Motion and the Joinder now raise an entirely new ground for
24 moving to dismiss the First Amended Complaint of August 10, 2020 (Dkt. 23) – namely,

25 its asserted lack of “particularity,” under Rule 9(b) of the Fed. R. Civ. P. – that was never
26 discussed on August 6, 2020 in connection with the original Complaint. Asserting a lack
27 of particularity is the Defendants’ primary argument now, in attacking the First Amended
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             ENTTECH’S OBJECTION AND REQUEST TO STRIKE MOTION TO DISMISS
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 1 Complaint. See Defendants’ Joint Memorandum (Dkt. 27) at 6-10. But Rule 9(b) was
 2 never mentioned in defense counsel’s earlier correspondence of August 5, 2020 (see Dkt.

 3 26-2) nor during the first call on August 6, 2020 (see Tauler Decl., infra ¶ 2) concerning
 4 a potential motion to dismiss the original Complaint.
 5         In a “summary email” from defense counsel Joanna Ardalan, she attempted to
 6 create an inaccurate record of the second call, by asserting on August 18, 2020 that
 7 “[y]ou said that the meet and confer efforts were futile.” See Ardalan Decl. (Dkt. 26-5), ¶
 8 4 & Exhibit 4 thereto (Dkt. 26-6)). ENTTech’s counsel never said that any discussion
 9 was futile. See Tauler Decl., infra ¶ 3. And counsel for ENTTech made this clear, in a
10 reply email just one hour later (which the moving parties misleadingly omit from their
11 filings). See Exhibit A, infra (at 2:07 p.m. on August 18, 2020). Yet, no defense counsel
12 have made any further attempt to confer – such as any attempt to confer over the
13 possibility that ENTTech could allege more particulars, to satisfy their new Rule 9(b)
14 concerns. See Tauler Decl., infra ¶ 3.
15         Therefore, the Motion to Dismiss and the accompanying Joinder (Dkts. 26 and 28)
16 of August 24, 2020 should be stricken for failure to confer over the motion at least seven

17 days before filing it, as required by Rule 7-3. A [Proposed] Order is attached, infra.
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     DATED: August 25, 2020                       TAULER SMITH LLP
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                                            By:
22                                                Robert Tauler
                                                  Attorneys for Plaintiff
23                                                ENTTech Media Group LLC
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             ENTTECH’S OBJECTION AND REQUEST TO STRIKE MOTION TO DISMISS
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 1                          DECLARATION OF ROBERT TAULER
 2         I, Robert Tauler, declare:
 3         1.      I am counsel of record for Plaintiff ENTTech Media Group LLC
 4 (“ENTTech”) in this action. The facts set forth in this Declaration are true of my own
 5 knowledge, and if called upon to testify, I could and would testify as thereto.
 6         2.      I participated in a call on August 6, 2020 with counsel for the Defendants
 7 in this action. During this call, we discussed several potential grounds for seeking
 8 dismissal of the original Complaint in this action (Dkt. 1), but there was no discussion of
 9 any purported deficiency in pleading fraud with particularity under Rule 9(b) of the Fed.
10 R. Civ. P. During this call, we also did not discuss any potential motion to dismiss the
11 First Amended Complaint – which was not even filed until August 10, 2020.
12         3.      Defense counsel did not raise any concerns involving Rule 9(b) until a
13 second phone call, on August 18, 2020. During this second call, counsel for the
14 Defendants nevertheless refused to discuss a potential second amendment of the
15 complaint to address the newly-perceived Rule 9(b) deficiencies. Then, after the
16 (untimely) call, attorney Joanna Ardalan emailed to misrepresent that “[y]ou said that

17 the meet and confer efforts were futile.” Within an hour later, I wrote back to correct
18 this misrepresentation. A true and correct copy of our complete email exchange is
19 attached as Exhibit A, infra.
20         4.      Defense counsel have made no further attempt to confer with me since
21 August 18, 2020 – such as any attempt to confer over the possibility that ENTTech
22 could allege further particulars, to satisfy their new Rule 9(b) concerns.
23
24         I declare under penalty of perjury under the laws of the United States that the
25 foregoing is true and correct. This declaration is executed on this 25th day of August,
26 2020, at Los Angeles, California.
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                ENTTECH’S OBJECTION AND REQUEST TO STRIKE MOTION TO DISMISS
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                                               /s/ Robert Tauler
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                                               Robert Tauler, Esq.
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             ENTTECH’S OBJECTION AND REQUEST TO STRIKE MOTION TO DISMISS
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 1                              CERTIFICATE OF SERVICE
 2

 3        I hereby certify that on August 25, 2020, copies of the foregoing document were
 4 served by the Court’s CM/ECF system to all counsel of record in this action.
 5
 6 Dated: August 25, 2020                 TAULER SMITH, LLP
 7
 8                                        By: /s/ Robert Tauler
 9                                            Robert Tauler

10                                        Counsel for Plaintiff
11                                        ENTTECH MEDIA GROUP LLC

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             ENTTECH’S OBJECTION AND REQUEST TO STRIKE MOTION TO DISMISS
